
*373OPINION.
Littleton :
The evidence submitted in this proceeding is not sufficient to warrant the Board in disturbing the Commissioner’s determination in regard to the allowance for exhaustion, wear and tear of furniture, fixtures and equipment or as to the disallowance of the loss on furniture and fixtures. Considerable testimony was introduced by depositions but this testimony was so general that it is impossible to determine therefrom the value of the property acquired for stock from the partnership, the cost of equipment subsequently acquired or its useful life. It appears that much of the furniture, fixtures and equipment was torn out, replaced or discarded prior to the end of the useful life thereof and the evidence is not sufficient to enable the Board to determine the loss, if any, to which the petitioner is entitled on this account.
The leases in question were acquired by the partnership without cost and some time prior to the organization of the petitioner. It is claimed that when these leases were paid in to the petitioner by the *374partners for stock they had an actual cash value of $5,466.50. The Commissioner correctly excluded this amount from invested capital for the taxable years under the provisions of section 331 of the Revenue" Acts of 1918 and 1921. The evidence does not show what value, if any, the Commissioner determined for the leases for depreciation purposes or what portion, if any, he disallowed of the deduction claimed for exhaustion of these leases.

Judgment will 1)6 entered for the respondent.

